       Case 4:21-cv-00913-YGR Document 1 Filed 02/05/21 Page 1 of 32




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 8                              UNITED STATES DISTRICT COURT
 9                            NORTHERN DISTRICT OF CALIFORNIA

10                                      OAKLAND DIVISION
                                                  )
11   Ludmila Gulkarov, Individually and on        )   Case No. ___________________
     Behalf of All Others Similarly Situated,     )
12                                                )
                                     Plaintiff,   )
13     v.                                         )   CLASS ACTION COMPLAINT FOR:
                                                  )
14   Plum, PBC, a Delaware corporation,           )   (1) NEGLIGENT
                                                  )   MISREPRESENTATION;
15                                                )   (2) VIOLATIONS OF THE
                                  Defendant.      )   CALIFORNIA CONSUMER LEGAL
16                                                )   REMEDIES ACT;
                                                  )   (3) VIOLATIONS OF THE
17                                                )   CALIFORNIA FALSE ADVERTISING
                                                  )   LAW;
18                                                )   (4) VIOLATIONS OF THE
                                                  )   CALIFORNIA UNFAIR COMPETITION
19                                                )   LAW;
                                                  )   (5) BREACH OF EXPRESS
20                                                )   WARRANTY; AND
                                                  )   (6) BREACH OF IMPLIED
21                                                )   WARRANTY;
22                                                    DEMAND FOR JURY TRIAL
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                                    CLASS ACTION COMPLAINT
     857146.1
         Case 4:21-cv-00913-YGR Document 1 Filed 02/05/21 Page 2 of 32




 1           1.     Plaintiff Ludmila Gulkarov (“Plaintiff”), individually and on behalf of all others

 2 similarly situated, by and through her undersigned attorneys, brings this Class Action Complaint

 3 against Defendant Plum, PBC (“Defendant”), for its negligent, reckless, and/or intentional practice

 4 of misrepresenting and failing to fully disclose the presence of dangerous substances in its baby

 5 food sold throughout the United States. Plaintiff seeks both injunctive and monetary relief on

 6 behalf of the proposed Class (as defined herein), including requiring full disclosure of all such

 7 substances in its marketing, advertising, and labeling and restoring monies to the members of the

 8 proposed Class. Plaintiff alleges the following based upon personal knowledge as well as

 9 investigation by her counsel, and as to all other matters, upon information and belief (Plaintiff

10 believes that substantial evidentiary support will exist for the allegations set forth herein after a

11 reasonable opportunity for discovery).

12                                    NATURE OF THE ACTION

13           2.     Parents like Plaintiff trust manufacturers like Defendant to sell baby food that is

14 safe, nutritious, and free from harmful toxins, contaminants, and chemicals. They certainly expect

15 the food they feed their infants and toddlers to be free from Heavy Metals, substances known to

16 have significant and dangerous health consequences.1

17           3.     Consumers lack the scientific knowledge necessary to determine whether the

18 Defendant’s products do in fact contain Heavy Metals or to know or ascertain the true nature of

19 the ingredients and quality of the Products. Reasonable consumers therefore must and do rely on

20 Defendant to honestly report what its products contain.

21           4.     A recent report by the U.S. House of Representatives’ Subcommittee on Economic

22 and Consumer Policy, Committee on Oversight and Reform reveals that parents’ trust has been

23 violated. Ex. 1. The Subcommittee’s investigation of the seven largest baby food manufacturers in

24 the United States, including Defendant, was spurred by “reports alleging high levels of toxic heavy

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    As used herein, the phrase “Heavy Metals” is collectively defined as arsenic, cadmium, lead, and
27 mercury.

28                                             -1-
                                     CLASS ACTION COMPLAINT
     857146.1
       Case 4:21-cv-00913-YGR Document 1 Filed 02/05/21 Page 3 of 32




 1 metals in baby foods” and the knowledge that “[e]ven low levels of exposure can cause serious

 2 and often irreversible damage to brain development.” Ex. 1 at 2.

 3          5.     The Subcommittee’s report revealed that “[i]nternal company standards permit

 4 dangerously high levels of toxic heavy metals, and … that the manufacturers have often sold foods

 5 that exceeded these levels.” Ex. 1 at 4. Defendant was among the three companies that refused to

 6 cooperate with the Subcommittee’s investigation, causing “great[] concern that their lack of

 7 cooperation might obscure the presence of even higher levels of toxic heavy metals in their baby

 8 food products, compared to their competitors’ products.” Ex. 1 at 5. “[E]ven limited independent

 9 testing has revealed the presence of toxic heavy metals in [Defendant’s] baby food.” Ex. 1 at 45.

10          6.     Defendant knows that its customers trust the quality of its products and that they

11 expect Defendant’s products to be free of Heavy Metals. It also knows that certain consumers seek

12 out and wish to purchase premium baby foods that possess high quality ingredients free of toxins,

13 contaminants, or chemicals and that these consumers will pay more for baby foods they believe

14 possess these qualities than for baby foods they do not believe possess these qualities.

15          7.     As such, Defendant’s promises, warranties, pricing, statements, claims, packaging,

16 labeling, marketing, and advertising (hereinafter collectively referred to as “Marketing” or

17 “Claims”) center on representations and pictures that are intended to, and do, convey to consumers

18 that their baby food, including its Contaminated Baby Foods,2 possess certain qualities and

19 characteristics that justify a premium price.

20          8.     No reasonable consumer seeing Defendant’s Marketing would expect the

21 Contaminated Baby Foods to contain Heavy Metals or other undesirable toxins or contaminants.

22 Furthermore, reasonable consumers, like Plaintiff, would consider the mere inclusion of Heavy

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     The phrase “Contaminated Baby Foods” collectively refers to the following Plum Organics
24 products: Just Sweet Potato Organic Baby Food; Just Peaches Organic Baby Food; Just Prunes

25 Organic Baby Food; Apple & Carrot Organic Baby Food; Pumpkin, Banana, Papaya, and
   Cardamom Organic Baby Food; Apple, Raisin, & Quinoa Organic Baby Food; Little Teethers
26 Organic Multigrain Teething Wafers- Banana with Pumpkin; Mighty Morning Bar- Blueberry
   Lemon. Discovery may reveal additional products that also contain levels of Heavy Metals.
27 Plaintiff reserves her right to include any such products in this action.

28                                             -2-
                                     CLASS ACTION COMPLAINT
     857146.1
       Case 4:21-cv-00913-YGR Document 1 Filed 02/05/21 Page 4 of 32




 1 Metals or other undesirable toxins or contaminants a material fact when considering what baby

 2 food to purchase.

 3          9.     Defendant intended for consumers to rely on its Marketing, and reasonable

 4 consumers did in fact so rely. However, Defendant’s Marketing is deceptive, misleading, unfair,

 5 and/or false because, among other things, the Contaminated Baby Foods include undisclosed

 6 Heavy Metals or other undesirable toxins or contaminants.

 7          10.    Defendant’s Contaminated Baby Foods do not have a disclaimer regarding the

 8 presence of Heavy Metals or other undesirable toxins or contaminants that would inform

 9 consumers that the foods contain Heavy Metals and/or that Heavy Metals can accumulate over

10 time in a child’s body to the point where poisoning, injury, and/or disease can occur.

11          11.    Defendant’s wrongful Marketing, which includes misleading, deceptive, unfair,

12 and false Marketing and omissions, allowed it to capitalize on, and reap enormous profits from,

13 consumers who paid the purchase price or a price premium for Contaminated Baby Food that was

14 not sold as advertised. And Defendant continues to wrongfully induce consumers to purchase its

15 Contaminated Baby Food that are not as advertised.

16          12.    Plaintiff brings this proposed consumer class action individually and on behalf of

17 all other members of the Class (as defined herein), who, from the applicable limitations period up

18 to and including the present, purchased for use and not resale any of Defendant’s Contaminated

19 Baby Foods.

20                                   JURISDICTION AND VENUE

21          13.    This Court has original jurisdiction over all causes of action asserted herein under

22 the Class Fairness Act, 28 U.S.C. §1332(d)(2), because the matter in controversy exceeds the sum

23 or value or $5,000,000 exclusive of interest and costs and more than two-thirds of the Class resides

24 in states other than the state in which Defendant is a citizen and in which this case is filed, and

25 therefore any exemptions to jurisdiction under 28 U.S.C. §1332(d)(2) do not apply.

26          14.    Venue is proper in this Court pursuant to 28 U.S.C. §1391, because Plaintiff

27 suffered injury as a result of Defendant’s acts in this district, many of the acts and transactions

28                                             -3-
                                     CLASS ACTION COMPLAINT
     857146.1
       Case 4:21-cv-00913-YGR Document 1 Filed 02/05/21 Page 5 of 32




 1 giving rise to this action occurred in this district, and Defendant conducts substantial business in

 2 this district and is headquartered in this district. Defendant has intentionally availed itself of the

 3 laws and markets of this district, and Defendant is subject to personal jurisdiction in this district.

 4                                            THE PARTIES

 5          15.     Plaintiff is, and at all times relevant hereto has been, a citizen of the state of

 6 California. She purchased the Contaminated Baby Foods, specifically the Plum Organics Sweet

 7 Potato Baby Food and Plum Organics Apple & Carrot, for all three of her children from Vons and

 8 Albertsons grocery stores. Plaintiff last purchased the Contaminated Baby Foods for her youngest

 9 child from July 2014 to 2017.

10          16.     Plaintiff believed she was feeding her children healthy, nutritious food. During the

11 time she purchased and fed her children the Contaminated Baby Foods. Due to the false and

12 misleading claims and omissions by Defendant, she was unaware the Contaminated Baby Foods

13 contained any level of Heavy Metals, and would not have purchased the food if that information

14 had been fully disclosed.

15          17.     As the result of Defendant’s negligent, reckless, and/or knowingly deceptive

16 conduct as alleged herein, Plaintiff was injured when she paid the purchase price or a price

17 premium for the Contaminated Baby Foods that did not deliver what they promised. She paid the

18 purchase price on the assumption that the labeling of the Contaminated Baby Foods was accurate

19 and that it was free of Heavy Metals and safe to ingest. Plaintiff would not have paid this money

20 had she known that the Contaminated Baby Food contained excessive degrees of Heavy Metals.

21 Further, should Plaintiff encounter the Contaminated Baby Foods in the future, she could not rely

22 on the truthfulness of the Marketing, absent corrective changes to the packaging and advertising

23 of the Contaminated Baby Foods. Damages can be calculated through expert testimony at trial.

24          18.     Defendant Plum, PBC was founded in 2007 and is incorporated in Delaware. Its

25 headquarters are located at 1485 Park Avenue, Suite 200, Emeryville, California. Defendant

26 formulates, develops, manufactures, labels, distributes, markets, advertises, and sells the

27 Contaminated Baby Foods under the Plum Organics name throughout the United States. Defendant

28                                              -4-
                                      CLASS ACTION COMPLAINT
     857146.1
       Case 4:21-cv-00913-YGR Document 1 Filed 02/05/21 Page 6 of 32




 1 created, allowed, negligently oversaw, and/or authorized the unlawful, fraudulent, unfair,

 2 misleading, and/or deceptive labeling and advertising for the Contaminated Baby Foods.

 3          19.    The Marketing for the Contaminated Baby Foods, relied upon by Plaintiff, was

 4 prepared, reviewed, and/or approved by Defendant and its agents at its headquarters in California

 5 and was disseminated by Defendant and its agents through marketing, advertising, packaging, and

 6 labeling that contained the misrepresentations alleged herein. The Marketing for the Contaminated

 7 Baby Foods was designed to encourage consumers to purchase the Contaminated Baby Foods and

 8 reasonably misled the reasonable consumer, i.e., Plaintiff and the Class members, into purchasing

 9 the Contaminated Baby Foods.

10          20.    Defendant’s Products are divided into groups according to the targeted infant or

11 toddler age and/or type of food product. For example, there are five groups designated for the

12 youngest infants: Stage 1 (4+ months old), Stage 2 (6+ months old), Stage 3 (6+ months old),

13 Super Puffs®, and Little Teethers.

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                                    CLASS ACTION COMPLAINT
     857146.1
       Case 4:21-cv-00913-YGR Document 1 Filed 02/05/21 Page 7 of 32




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16          21.   The Contaminated Baby Foods, at a minimum, include:

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19                a) Just Sweet Potato Organic Baby Food:

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                                 CLASS ACTION COMPLAINT
     857146.1
       Case 4:21-cv-00913-YGR Document 1 Filed 02/05/21 Page 8 of 32




 1               b) Just Peaches Organic Baby Food:

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                 c) Just Prunes Organic Baby Food:
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                 d) Apple & Carrot Organic Baby Food:
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                                CLASS ACTION COMPLAINT
     857146.1
       Case 4:21-cv-00913-YGR Document 1 Filed 02/05/21 Page 9 of 32




 1               e) Pumpkin, Banana, Papaya, and Cardamom Organic Baby Food:

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                 f) Apple, Raisin, & Quinoa Organic Baby Food:
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                 g) Little Teethers Organic Multigrain Teething Wafer- Banana with Pumpkin:
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28                                         -8-
                                 CLASS ACTION COMPLAINT
     857146.1
      Case 4:21-cv-00913-YGR Document 1 Filed 02/05/21 Page 10 of 32




 1                  h) Mighty Morning Bar- Blueberry Lemon

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 9                                    FACTUAL ALLEGATIONS

10     I.   A Congressional Investigation Found the Presence Heavy Metals in Baby Foods
11          22.     On February 4, 2021, the U.S. House of Representatives’ Subcommittee on
12 Economic and Consumer Policy, Committee on Oversight and Reform, published a report

13 detailing its findings that Heavy Metals—including arsenic, cadmium, lead, and mercury—were

14 present in “significant levels” in numerous commercial baby food products. Ex. 1.

15          23.     Defendant was one of the baby food manufacturers from whom the Subcommittee
16 requested internal documents and test results. However, Defendant “refused to cooperate with the

17 Subcommittee’s investigation.” Ex. 1. Defendant refused to produce its testing standards and

18 specific test results but instead produced a spreadsheet that “self-declared” that every product met

19 criteria for each of the Heavy Metals, while declining to state what the criteria were.

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                                     CLASS ACTION COMPLAINT
     857146.1
         Case 4:21-cv-00913-YGR Document 1 Filed 02/05/21 Page 11 of 32




 1             24.    Defendants marked every product that it “meets criteria” without identifying what

 2 that criteria is. Ex. 1. The Subcommittee found Defendant’s “grading” concerning and misleading

 3 as it “raises questions about what [Defendant’s] other thresholds actually are, and whether they

 4 exist.” Ex. 1.

 5             25.    The investigation found that, when baby food manufacturers were left to self-

 6 regulate and establish their own Heavy Metals standards, they routinely failed to abide by their

 7 own standards. Ex. 1.

 8             26.    In its conclusion, the Subcommittee stressed the danger associated with the

 9 presence of Heavy Metals in baby food: “These toxic heavy metals pose serious health risks to

10 babies and toddlers. Manufacturers knowingly sell these products to unsuspecting parents, in spite

11 of internal company standards and test results, and without any warning labeling whatsoever.” Ex.

12 1.

13             27.    In Defendant’s published response to the Subcommittee’s Report, it stated, “We are

14 confident in the safety and quality of our products. Our top priority is to serve children healthy,

15 nutritious food made from the best ingredients. We want to assure you that Plum’s products are

16 safe (and delicious) to eat!”3

17             28.    However, under the FAQs section, Defendant fails to describe its “protocol for

18 evaluating heavy metals in products” and simply claims that it looks to guidance from leading

19 health and regulatory bodies, while also failing to identify the “healthy and regulatory bodies.”4

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26   3
         https://www.plumorganics.com/faqs/ (last accessed February 5, 2021).
27   4
         Id.
28                                              - 10 -
                                       CLASS ACTION COMPLAINT
     857146.1
         Case 4:21-cv-00913-YGR Document 1 Filed 02/05/21 Page 12 of 32




         II.   Defendant Falsely Marketed Its Contaminated Baby Foods as Healthy While
 1             Omitting Any Mention of Heavy Metals
 2             29.    Defendant packages, labels, markets, advertises, formulates, manufactures,
 3 distributes, and sells its Contaminated Baby Foods throughout the United States, including

 4 California.

 5             30.    Defendant’s advertised mission is to “nourish little ones with the very best food
 6 from the very first bite.”5 Defendant repeatedly touts its commitment to and use of organic and

 7 non-GMO ingredients in its products, including the Contaminated Baby Foods. Defendant claims

 8 that its “top priority” is “to serve children healthy, nutritious food made from the best ingredients.”6

 9             31.    Based on Defendant’s decision to advertise, label, and market its Contaminated
10 Baby Foods as healthy, nutritious, “made from the best ingredients,” safe for consumption, and

11 including “only” the healthy fruits, vegetables, or grains pictured on the label, it had a duty to

12 ensure that these statements and the message portrayed by the labels’ imagery were true and not

13 misleading. As such, Defendant knew or should have known the Contaminated Baby Foods

14 included nondisclosed levels of Heavy Metals, and that these toxins can accumulate over time.

15             32.    The Contaminated Baby Foods are available at numerous retail and online outlets.
16 The Contaminated Baby Foods are widely advertised, and Defendant includes a Vice President of

17 Brand and Marketing on its Executive Team.

18             33.    As discussed above, the Marketing of the Contaminated Baby Foods also fails to
19 disclose they contain or are at risk or containing any level of Heavy Metals or other undesirable

20 toxins or contaminants. Defendant intentionally omitted these contaminants in order to induce and

21 mislead reasonable consumers to purchase its Contaminated Baby Foods.

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25     Plum Organics Mission Highlights, Fiscal Year 2018.                  Available at
   https://www.plumorganics.com/wp-content/uploads/2019/05/Plum_MissionReport2018.pdf (last
26 accessed February 4, 2021).

27   6
         https://www.plumorganics.com/faqs/ (last accessed February 4, 2021).
28                                             - 11 -
                                      CLASS ACTION COMPLAINT
     857146.1
         Case 4:21-cv-00913-YGR Document 1 Filed 02/05/21 Page 13 of 32




 1              34.   As a result of Defendant’s omissions, a reasonable consumer would have no reason

 2 to suspect the presence of Heavy Metals in the Contaminated Baby Foods without conducting his

 3 or her own scientific tests or reviewing third party scientific testing of these products.

 4   III.       Defendant’s Marketing Misled and Deceived Consumers

 5              35.   Defendant’s Marketing wrongfully conveys to consumers that its Contaminated

 6 Baby Foods have certain superior quality and characteristics that they do not actually possess.

 7              36.   For instance, although Defendant misleadingly causes consumers to believe its

 8 Contaminated Baby Foods do not contain Heavy Metals through its Marketing and omissions, the

 9 Contaminated Baby Foods do in fact contain undisclosed Heavy Metals, which is material

10 information to reasonable consumers.

11              37.   For example, the following foods were tested and found to contain undisclosed

12 Heavy Metals at the following levels:7

13
         Food                          Arsenic      Arsenic     Lead           Cadmium      Mercury
14
                                       (total,      (inorganic, (ppb)          (ppb)        (total,
15                                     ppb)         ppb)                                    ppb)

16       Plum Organics Just Sweet      3.1*8        --           5.6           2.3          <0.142
         Potato Organic Baby Food-
17       1, 4 months
18       Plum Organics Just Peaches 7.2             --           0.9*          <0.5         <0.139
         Organic Baby Food (Stage 1)
19

20       Plum Organics Just Prunes     7.6          --           2.5           <0.5         0.194*
         Organic Baby Food- 1, 4
21       months & up

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     7
     The following chart represents the levels of Heavy Metals in Defendant’s products included in
24
   the Healthy Babies Bright Futures Report, dated October 2019.                        Available at:
25 https://www.healthybabyfood.org/sites/healthybabyfoods.org/files/2020-
   04/BabyFoodReport_ENGLISH_R6.pdf (last accessed February 4, 2021).
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   8
     An “*” indicates that test results were estimated, between the limit of detection and the limit of
27 quantitation.

28                                             - 12 -
                                      CLASS ACTION COMPLAINT
     857146.1
         Case 4:21-cv-00913-YGR Document 1 Filed 02/05/21 Page 14 of 32




         Food                          Arsenic      Arsenic     Lead           Cadmium      Mercury
 1
                                       (total,      (inorganic, (ppb)          (ppb)        (total,
 2                                     ppb)         ppb)                                    ppb)

 3       Plum Organics Pumpkin         2.4*         --            1.4*         2.4          <0.139
         Banana Papaya Cardamom,
 4       6 months & up
 5       Plum Organics Apple,          5.6*         --            2.2          1.9          0.145*
         Raisin, & Quinoa Organic
 6
         Baby Food- 2
 7
         Plum Organics Little        49.9           --            1.4*         6.3          0.726
 8       Teethers Organic Multigrain
         Teething Wafers- Banana
 9       with Pumpkin- Baby Crawler
10       Plum Organics Mighty          409          39            3.4          24.3         <0.137
11       Morning Bar- Blueberry
         Lemon- Tots, 15 months &
12       up

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                38.   Defendant’s Marketing wrongfully fails to disclose to consumers the presence of
14
     Heavy Metals in its Contaminated Baby Foods.
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                39.   Based on Defendant’s Marketing, a reasonable consumer would not suspect the
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     presence of Heavy Metals, nor would a reasonable consumer be able to detect the presence of
17
     Heavy Metals in the Contaminated Baby Foods without conducting his or her own scientific tests
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     or reviewing scientific testing conducted on the Products.
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                40.   Reasonable consumers must and do rely on Defendant to honestly report what its
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     Contaminated Baby Foods contain.
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                41.   In light of Defendant’s Marketing, including its “comprehensive” quality controls,
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     Defendant knew or should have known the Contaminated Baby Foods contained Heavy Metals.
23
                42.   Defendant intended for consumers to rely on its Marketing, and reasonable
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     consumers did in fact so rely.
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26   “This value is the average of 3 tests of total arsenic (44, 37, and 39 ppb). The original
   homogenized bar was tested twice, and homogenate of a second, separate bar from the same box
27 was tested once.”

28                                              - 13 -
                                       CLASS ACTION COMPLAINT
     857146.1
      Case 4:21-cv-00913-YGR Document 1 Filed 02/05/21 Page 15 of 32




 1          43.     Defendant had a duty to ensure the Contaminated Baby Foods were as they were

 2 represented and not deceptively, misleadingly, unfairly, and falsely marketed.

 3          44.     Pursuant to the foregoing, Defendant’s Marketing is deceptive, misleading, unfair,

 4 and false to Plaintiff and other consumers, including under the consumer protection laws of

 5 California.

 6          45.     Defendant acted negligently, recklessly, unfairly, and/or intentionally with its

 7 deceptive, misleading, unfair, and false Marketing and omissions.

 8   IV.    Why Defendant’s Marketing and Omissions are Misleading

 9          46.     At all times during the Class Period, Defendant knew or should have known the

10 Contaminated Baby Foods contained Heavy Metals and were not sufficiently tested for the

11 presence of Heavy Metals.

12          47.     Defendant’s Contaminated Baby Foods had a risk of containing Heavy Metals due

13 to Defendant’s failure to monitor for their presence in the ingredients and finished products.

14 Defendant was aware of this risk and failed to disclose it to Plaintiff and the Class.

15          48.     Defendant knew that Heavy Metals are a potentially dangerous contaminant that

16 poses health risks to humans.

17          49.     Defendant knew or should have known that it owed consumers a duty of care to

18 prevent, or at the very least, minimize the presence of Heavy Metals in the Contaminated Baby

19 Foods to the extent reasonably possible.

20          50.     Defendant knew or should have known it owed consumers a duty of care to

21 adequately test for Heavy Metals in the Contaminated Baby Foods.

22          51.     Defendant knew consumers purchased the Contaminated Baby Foods based on the

23 reasonable expectation that Defendant manufactured the Contaminated Baby Foods to the highest

24 standards. Based on this expectation, Defendant knew or should have known consumers

25 reasonably inferred that Defendant would hold the Contaminated Baby Foods to the highest

26 standards for preventing the inclusion of Heavy Metals in the Contaminated Baby Foods and for

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28                                            - 14 -
                                     CLASS ACTION COMPLAINT
     857146.1
      Case 4:21-cv-00913-YGR Document 1 Filed 02/05/21 Page 16 of 32




 1 the Heavy Metals testing of the ingredients in the Contaminated Baby Foods as well as the final

 2 product.

 3          52.    Arsenic is an odorless and tasteless element that does not degrade or disappear.

 4 Arsenic occurs in the environment and can be found in rocks, soil, water, air, plants, and animals.

 5 Inorganic arsenic is highly toxic and a known cause of human cancers. Arsenic exposure can also

 6 cause respiratory, gastrointestinal, hematological, hepatic, renal, skin, neurological and

 7 immunological effects, and damage children’s central nervous systems and cognitive

 8 development.10 Based on the risks associated with exposure to higher levels of arsenic, both the

 9 U.S. Environmental Protection Agency (“EPA”) and U.S. Food and Drug Administration (“FDA”)

10 have set limits concerning the allowable limit of arsenic at 10 parts per billion (“ppb”) for human

11 consumption in apple juice (regulated by the FDA) and drinking water (regulating by the EPA).

12          53.    Cadmium is associated with decreases in IQ and the development of ADHD. The

13 U.S. Department of Health and Human Services has determined that cadmium and cadmium

14 compounds are known human carcinogens and the EPA has likewise determined that cadmium is

15 a probable human carcinogen. It has been specifically noted that “Kidney and bone effects have

16 … been observed in laboratory animals ingesting cadmium.”

17          54.    Lead is a carcinogen and developmental toxin known to cause health problems in

18 children such as behavioral problems, decreased cognitive performance, delayed puberty, and

19 reduced postnatal growth. Because lead can build up in the body over time as one is exposed to

20 and/or ingests it, even a low level of chronic exposure can become toxic and seriously injurious to

21 one’s health. The FDA has set standards that regulate the maximum parts per billion of lead

22 permissible in water: bottled water cannot contain more than 5 ppb of total lead or 10 ppb of total

23 arsenic. See 21 C.F.R. § 165.110(b)(4)(iii)(A).

24
     10
25    U.S. House of Representatives Staff Report by the Subcommittee on Economic and Consumer
   Policy, Committee on Oversight and Reform: “Baby foods are tainted with dangerous levels or
26 arsenic,       lead,       cadmium,         and        mercury.”               Available at
   https://oversight.house.gov/sites/democrats.oversight.house.gov/files/2021-02-
27 04%20ECP%20Baby%20Food%20Staff%20Report.pdf (last accessed February 4, 2021).

28                                           - 15 -
                                    CLASS ACTION COMPLAINT
     857146.1
      Case 4:21-cv-00913-YGR Document 1 Filed 02/05/21 Page 17 of 32




 1           55.   Mercury is a known toxin, and pre-natal exposure has been associated with affected

 2 neuro-development, a lowered IQ, and autistic behaviors. The impact of the various ways humans

 3 and animals are exposed and ingest mercury has been studied for years. In fact, in as early as 1997,

 4 the EPA issued a report to Congress that detailed the health risks to both humans and animals.

 5 Based on the toxicity and risks of mercury, regulations have been enacted at both the Federal and

 6 state level.

 7           56.   While federal regulations regarding levels of Heavy Metals in most baby foods are

 8 non-existent, it is not due to a lack of risk. According to Linda McCauley, Dean of the Nell

 9 Hodgson Woodruff School of Nursing at Emory University, who studies environmental health

10 effects, stated, “No level of exposure to these [heavy] metals has been shown to be safe in

11 vulnerable infants.”11

12           57.   Based on the foregoing, reasonable consumers, like Plaintiff, would consider the

13 inclusion of Heavy Metals a material fact when considering what baby food to purchase.

14           58.   Defendant knew that properly and sufficiently monitoring for Heavy Metals in its

15 ingredients and Contaminated Baby Foods was not only important but critical.

16           59.   Defendant also knew that monitoring Heavy Metals was likewise important to its

17 health-conscious consumers.

18           60.   Finally, Defendant knew or should have known it could control the levels of Heavy

19 Metals in the Contaminated Baby Foods by properly monitoring their ingredients for Heavy Metals

20 and adjusting any formulation or diet to reduce ingredients that contained higher levels of Heavy

21 Metals.

22           61.   However, Defendant also knew it was not properly and sufficiently testing for

23 Heavy Metals in the Contaminated Baby Foods. Defendant knew its failure to properly and

24 sufficiently test for Heavy Metals in the Contaminated Baby Foods continued throughout the Class

25 Period.

26
     11
      https://www.nytimes.com/2021/02/04/health/baby-food-metals-arsenic.html (last accessed
27 February 5, 2021).

28                                            - 16 -
                                     CLASS ACTION COMPLAINT
     857146.1
      Case 4:21-cv-00913-YGR Document 1 Filed 02/05/21 Page 18 of 32




 1          62.    Defendant’s Marketing was misleading due to its failure to properly and sufficiently

 2 monitor for and to disclose the risk of the presence of Heavy Metals in the Contaminated Baby

 3 Foods.

 4          63.    Defendant knew or should have known consumers paid premium prices and

 5 expected Defendant to regularly test for Heavy Metals and sufficiently monitor the presence of

 6 Heavy Metals in the Contaminated Baby Foods and ingredients.

 7          64.    At all times during the Class Period, Defendant did not consistently monitor or test

 8 for Heavy Metals in the Contaminated Baby Foods and ingredients.

 9          65.    Defendant knew or should have known that consumers reasonably expected it to

10 test for and monitor the presence of Heavy Metals in the Contaminated Baby Foods and

11 ingredients.

12          66.    Defendant knew or should have known the Contaminated Baby Foods contained

13 unmonitored levels of Heavy Metals that were inconsistent with their Marketing.

14          67.    Defendant knew or should have known that consumers expected it to ensure the

15 Contaminated Baby Foods were monitored and tested for Heavy Metals to ensure compliance with

16 their Marketing.

17          68.    Defendant knew, yet failed to disclose, its lack of regular testing and knowledge of

18 the risk or presence of Heavy Metals in the Contaminated Baby Foods and ingredients.

19          69.    Defendant’s above-referenced statements, representations, partial disclosures, and

20 omissions are false, misleading, and crafted to deceive the public as they create an image that the

21 Contaminated Baby Foods are healthy, nutritious, and made from the best ingredients, are subject

22 to stringent quality control, and are free of Heavy Metals.

23          70.    Moreover, reasonable consumers, such as Plaintiff and the Class members, would

24 have no reason to doubt Defendant’s statements regarding the quality of the Contaminated Baby

25 Foods. Defendant’s nondisclosure and/or concealment of the toxins in the Contaminated Baby

26 Foods coupled with the misrepresentations alleged herein that were intended to and did, in fact,

27 cause consumers like Plaintiff and the members of the Class, to purchase products they would not

28                                           - 17 -
                                    CLASS ACTION COMPLAINT
     857146.1
      Case 4:21-cv-00913-YGR Document 1 Filed 02/05/21 Page 19 of 32




 1 have if the true quality and ingredients were disclosed or would not have paid a premium price for

 2 such baby food.

 3           71.   As a result of Defendant’s wrongful Marketing, which includes misleading,

 4 deceptive, unfair, and false statements and omissions, Defendant has generated substantial sales

 5 of the Contaminated Baby Foods.

 6           72.   Defendant’s wrongful Marketing, which includes misleading, deceptive, unfair,

 7 and false representations and omissions, allowed it to capitalize on, and reap enormous profits

 8 from, consumers who paid the purchase price or premium for the Products that were not as

 9 advertised.

10           73.   This is not surprising given that, for example, organic baby food was valued at were

11 $1.9 billion in the U.S. in 2018 and is expected to reach $3.32 billion by 2024.12

12           74.   The incredible rise in consumer demand for organic baby food is “driven by the

13 growing awareness among consumers to limit that baby’s exposure to the harmful chemicals used

14 in conventional food production and the awareness of the benefits of organic products.”13

15        DEFENDANT’S STATEMENTS AND OMISSIONS VIOLATE CALIFORNIA LAWS

16           75.   California law is designed to ensure that a company’s claims about its products are

17 truthful and accurate.

18           76.   Defendant violated California law by negligently, recklessly, and/or intentionally

19 incorrectly claiming that the Contaminated Baby Foods are healthy, nutritious, and “made from

20 the best ingredients,” and by not accurately detailing that the products contain Heavy Metals.

21

22

23

24   12
            https://www.businesswire.com/news/home/20200120005436/en/North-America-Organic-
25 Baby-Food-Market-Expected-to-Reach-a-Value-of-3.32-Billion-by-2024-with-a-CAGR-of-9.6---
   ResearchAndMarkets.com (last accessed February 4, 2021).
26
   13
      https://www.mordorintelligence.com/industry-reports/organic-baby-food-market (last accessed
27 February 4, 2021).

28                                            - 18 -
                                     CLASS ACTION COMPLAINT
     857146.1
      Case 4:21-cv-00913-YGR Document 1 Filed 02/05/21 Page 20 of 32




 1           77.   Defendant’s marketing and advertising campaign has been sufficiently lengthy in

 2 duration, and widespread in dissemination, that it would be unrealistic to require Plaintiff to plead

 3 relying upon each advertised misrepresentation.

 4           78.   Defendant has engaged in this long-term advertising campaign to convince

 5 potential customers that the Contaminated Baby Foods were healthy, nutritious, and “made from

 6 the best ingredients,” and did not contain harmful ingredients, such as Heavy Metals.

 7        PLAINTIFF’S RELIANCE WAS REASONABLE AND FORESEEN BY DEFENDANT

 8           79.   Plaintiff reasonably relied on Defendant’s claims, warranties, representations,

 9 advertisements, and other marketing concerning the particular qualities and benefits of the

10 Contaminated Baby Food.

11           80.   Plaintiff read and relied upon the labels and packaging of the Contaminated Baby

12 Foods when making her purchasing decisions. Had she known Defendant omitted the presence of

13 Heavy Metals from its packaging, she would not have purchase it.

14           81.   A reasonable consumer would consider the labeling of a product when deciding

15 whether to purchase. Here, Plaintiff relied on the specific statements and omissions on the

16 Contaminated Baby Foods’ labeling that led her to believe it was healthy, nutritious, and free of

17 Heavy Metals.

18           DEFENDANT’S KNOWLEDGE AND NOTICE OF ITS BREACHES OF ITS
                         EXPRESS AND IMPLIED WARRANTIES
19

20           82.   Defendant had sufficient notice of its breaches of express and implied warranties.

21 Defendant has, and had, exclusive knowledge of the physical and chemical make-up of the

22 Contaminated Baby Foods. Moreover, Defendant was put on notice by the Healthy Babies Bright

23 Future Report about the inclusion of Heavy Metals or other undesirable toxins or contaminants in

24 the Contaminated Baby Foods.14

25   14
      Nonprofit organization, Healthy Babies Bright Futures, published a report based on a scientific
26 study     of      the      presence     of      Heavy       Metals       in     baby       foods.
   https://www.healthybabyfood.org/sites/healthybabyfoods.org/files/2020-
27 04/BabyFoodReport_ENGLISH_R6.pdf (last accessed February 5, 2021).

28                                            - 19 -
                                     CLASS ACTION COMPLAINT
     857146.1
      Case 4:21-cv-00913-YGR Document 1 Filed 02/05/21 Page 21 of 32




 1              PRIVITY EXISTS WITH PLAINTIFF AND THE PROPOSED CLASS
 2          83.     Defendant knew that consumers such as Plaintiff and the proposed Class would be
 3 the end purchasers of the Contaminated Baby Foods and the target of its advertising and

 4 statements.

 5          84.     Defendant intended that the warranties, advertising, labeling, statements, and
 6 representations would be considered by the end purchasers of the Contaminated Baby Foods,

 7 including Plaintiff and the proposed Class.

 8          85.     Defendant directly marketed to Plaintiff and the proposed Class through statements
 9 on its website, labeling, advertising, and packaging.

10          86.     Plaintiff and the proposed Class are the intended beneficiaries of the expressed and
11 implied warranties.

12                                 CLASS ACTION ALLEGATIONS
13          87.     Plaintiff brings this action individually and on behalf of the following Class
14 pursuant to Rules 23(a) and 23(b)(2) and (3) of the Federal Rules of Civil Procedure:

15                  All persons who, from February 5, 2015, to the present, purchased
                    the Contaminated Baby Foods for household or business use, and
16                  not for resale (the “Class”).
17          88.     Excluded from the Class is the Defendant, any parent companies, subsidiaries,
18 and/or affiliates, officers, directors, legal representatives, employees, co-conspirators, all

19 governmental entities, and any judge, justice, or judicial officer presiding over this matter.

20          89.     This action is brought and may be properly maintained as a class action. There is
21 a well-defined community of interests in this litigation and the members of the Class are easily

22 ascertainable.

23          90.     The members in the proposed Class are so numerous that individual joinder of all
24 members is impracticable, and the disposition of the claims of the members of all Classes members

25 in a single action will provide substantial benefits to the parties and Court.

26          91.     Questions of law and fact common to Plaintiff and the Class include, but are not
27 limited to, the following:

28                                            - 20 -
                                     CLASS ACTION COMPLAINT
     857146.1
      Case 4:21-cv-00913-YGR Document 1 Filed 02/05/21 Page 22 of 32




 1                 (a)    whether Defendant owed a duty of care;

 2                 (b)    whether Defendant knew or should have known that the Contaminated Baby

 3 Foods contained Heavy Metals;

 4                 (c)    whether Defendant represented and continue to represent that the

 5 Contaminated Baby Foods are healthy, nutritious, made from the best ingredients, and safe for

 6 consumption;

 7                 (d)    whether Defendant represented and continues to represent that the

 8 manufacturing of its Products is subjected to rigorous quality standards;

 9                 (e)    whether Defendant failed to disclose that the Contaminated Baby Foods

10 contained Heavy Metals;

11                 (f)    whether Defendant’s representations in advertising, warranties, packaging,

12 and/or labeling are false, deceptive, and misleading;

13                 (g)    whether those representations are likely to deceive a reasonable consumer;

14                 (h)    whether Defendant had knowledge that those representations were false,

15 deceptive, and misleading;

16                 (i)    whether Defendant continues to disseminate those representations despite

17 knowledge that the representations are false, deceptive, and misleading;

18                 (j)    whether a representation that a product is healthy, nutritious, made from the

19 best ingredients, and safe for consumption and does not contain Heavy Metals is material to a

20 reasonable consumer;

21                 (k)    whether Defendant’s Marketing of the Contaminated Baby Foods are likely

22 to mislead, deceive, confuse, or confound consumers acting reasonably;

23                 (l)    whether Defendant violated California Business & Professions Code

24 sections 17200, et seq.;

25                 (m)    whether Defendant violated California Business & Professions Code

26 sections 17500, et seq.;

27

28                                           - 21 -
                                    CLASS ACTION COMPLAINT
     857146.1
      Case 4:21-cv-00913-YGR Document 1 Filed 02/05/21 Page 23 of 32




 1                  (n)     whether Defendant violated California Civil Code sections 1750, et seq.;

 2 and

 3                  (o)     whether Plaintiff and the members of the Class are entitled to declaratory

 4 and injunctive relief.

 5           92.    Defendant engaged in a common course of conduct giving rise to the legal rights

 6 sought to be enforced by Plaintiff individually and on behalf of the other members of the Class.

 7 Identical statutory violations and business practices and harms are involved. Individual questions,

 8 if any, are not prevalent in comparison to the numerous common questions that dominate this

 9 action.

10           93.    Plaintiff’s claims are typical of those of the members of the Class in that they are

11 based on the same underlying facts, events, and circumstances relating to Defendant’s conduct.

12           94.    Plaintiff will fairly and adequately represent and protect the interests of the Class,

13 has no interests incompatible with the interests of the Class, and has retained counsel competent

14 and experienced in class action, consumer protection, and false advertising litigation.

15           95.    Class treatment is superior to other options for resolution of the controversy

16 because the relief sought for each member of the Class is small such that, absent representative

17 litigation, it would be infeasible for members of the Class to redress the wrongs done to them.

18           96.    Questions of law and fact common to the Class predominate over any questions

19 affecting only individual members of the Class.

20           97.    As a result of the foregoing, class treatment is appropriate.

21                                            COUNT I
                (Negligent Misrepresentation Against Defendant on Behalf of the Class)
22

23           98.    Plaintiff incorporates by reference and realleges each and every allegation

24 contained above, as though fully set forth herein.

25           99.    Plaintiff reasonably placed her trust and reliance in Defendant’s representations that

26 the Contaminated Baby Foods were as Marketed to her and Class, and were healthy, nutritious,

27 made from the best ingredients, and safe for consumption, and did not contain Heavy Metals.

28                                            - 22 -
                                     CLASS ACTION COMPLAINT
     857146.1
      Case 4:21-cv-00913-YGR Document 1 Filed 02/05/21 Page 24 of 32




 1          100.   Because of the relationship between the parties, the Defendant owed a duty to use

 2 reasonable care to impart correct and reliable disclosures concerning the presence of Heavy Metals

 3 in the Contaminated Baby Foods or, based upon its superior knowledge, having spoken, to say

 4 enough to not be misleading.

 5          101.   Defendant breached its duty to Plaintiff and the Class by providing false,

 6 misleading, and/or deceptive information regarding the nature of the Contaminated Baby Foods.

 7          102.   Plaintiff and the Class reasonably and justifiably relied upon the information

 8 supplied to them by the Defendant. A reasonable consumer would have relied on Defendant’s

 9 own warranties, statements, representations, advertising, packaging, labeling, and other marketing

10 as to the quality, make-up, and included ingredients of the Contaminated Baby Foods.

11          103.   As a result of these misrepresentations, Plaintiff and the Class purchased the

12 Contaminated Baby Foods at a premium.

13          104.   Defendant failed to use reasonable care in its communications and representations

14 to Plaintiff and the Class, especially in light of its knowledge of the risks and importance of

15 considering ingredients to consumers when purchasing the Contaminated Baby Foods.

16          105.   By virtue of Defendant’s negligent misrepresentations, Plaintiff and the Class have

17 been damaged in an amount to be proven at trial or alternatively, seek rescission and disgorgement

18 under this Count.

19                                            COUNT II
      (Violations of California’s Consumer Legal Remedies Act, California Civil Code §§1750,
20                        Et Seq., Against Defendant on Behalf of the Class)
21          106.   Plaintiff incorporates by reference and realleges each and every allegation
22 contained above, as though fully set forth herein.

23          107.   Plaintiff and each proposed Class member is a “consumer,” as that term is defined
24 in California Civil Code section 1761(d).

25          108.   The Contaminated Baby Foods are “goods,” as that term is defined in California
26 Civil Code section 1761(a).

27

28                                           - 23 -
                                    CLASS ACTION COMPLAINT
     857146.1
      Case 4:21-cv-00913-YGR Document 1 Filed 02/05/21 Page 25 of 32




 1          109.    Defendant is a “person” as that term is defined in California Civil Code section

 2 1761(c).

 3          110.    Plaintiff and each proposed Class member’s purchase of Defendant’s products

 4 constituted a “transaction” as that term is defined in California Civil Code section 1761(e).

 5          111.    Defendant’s conduct alleged herein violates the following provisions of

 6 California’s Consumer Legal Remedies Act (the “CLRA”):

 7                  (a)    California Civil Code section 1770(a)(5), by negligently, recklessly, and/or

 8 intentionally representing that the Contaminated Baby Foods are healthy, nutritious, made from

 9 the best ingredients, and safe for consumption, and by failing to make any mention of Heavy

10 Metals in the Contaminated Baby Foods;

11                  (b)    California Civil Code section 1770(a)(7), by negligently, recklessly, and/or

12 intentionally representing that the Contaminated Baby Foods were of a particular standard, quality,

13 or grade, when they were of another;

14                  (c)    California Civil Code section 1770(a)(9), by negligently, recklessly, and/or

15 intentionally advertising the Contaminated Baby Foods with intent not to sell them as advertised;

16 and

17                  (d)    California Civil Code section 1770(a)(16), by representing that the

18 Contaminated Baby Foods have been supplied in accordance with previous representations when

19 they have not.

20          112.    As a direct and proximate result of these violations, Plaintiff and the Class have

21 been harmed, and that harm will continue unless Defendant is enjoined from using the misleading

22 marketing described herein in any manner in connection with the advertising and sale of the

23 Contaminated Baby Foods.

24          113.    Plaintiff seeks an award of attorneys’ fees pursuant to, inter alia, California Civil

25 Code section 1780(e) and California Code of Civil Procedure section 1021.5.

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28                                            - 24 -
                                     CLASS ACTION COMPLAINT
     857146.1
      Case 4:21-cv-00913-YGR Document 1 Filed 02/05/21 Page 26 of 32




 1                                              COUNT III
                   (Violations of California False Advertising Law, California Business
 2                     & Professions Code §§17500, Et Seq., Against Defendant on
 3                                          Behalf of the Class)

 4          114.     Plaintiff incorporates by reference and realleges each and every allegation

 5 contained above, as though fully set forth herein.

 6          115.     California’s False Advertising Law prohibits any statement in connection with the

 7 sale of goods “which is untrue or misleading.” Cal. Bus. & Prof. Code §17500.

 8          116.     As set forth herein, Defendant’s claims that the Contaminated Baby Foods are

 9 healthy, nutritious, made from the best ingredients, and safe for consumption are literally false and

10 likely to deceive the public.

11          117.     Defendant’s claims that the Contaminated Baby Foods are healthy, nutritious, made

12 from the best ingredients, and safe for consumption are untrue or misleading, as is failing to

13 mention the presence of Heavy Metals in the Contaminated Baby Foods.

14          118.     Defendant knew, or reasonably should have known, that all these claims were

15 untrue or misleading.

16          119.     Defendant’s conduct is ongoing and continuing, such that prospective injunctive

17 relief is necessary, especially given Plaintiff’s desire to purchase these products in the future if she

18 can be assured that, so long as the Contaminated Baby Foods are as advertised: healthy, nutritious,

19 made from the best ingredients, and safe for consumption, and do not contain Heavy Metals.

20          120.     Plaintiff and members of the Class are entitled to injunctive and equitable relief,

21 and restitution in the amount they spent on the Contaminated Baby Foods.

22                                              COUNT IV
                     (Violations of the Unfair Competition Law, California Business
23                     & Professions Code §§17200, Et Seq., Against Defendant on
24                                         Behalf of the Class)

25          121.     Plaintiff incorporates by reference and realleges each and every allegation

26 contained above, as though fully set forth herein.

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28                                             - 25 -
                                      CLASS ACTION COMPLAINT
     857146.1
      Case 4:21-cv-00913-YGR Document 1 Filed 02/05/21 Page 27 of 32




 1          122.    The Unfair Competition Law prohibits any “unlawful, unfair or fraudulent business

 2 act or practice.” Cal. Bus. & Prof. Code §17200.

 3 Fraudulent

 4          123.    Defendant’s statements that the Contaminated Baby Foods are healthy, nutritious,

 5 made from the best ingredients, and safe for consumption are literally false and likely to deceive

 6 the public, as is Defendant’s failing to make any mention of Heavy Metals in the Contaminated

 7 Baby Foods.

 8 Unlawful

 9          124.    As alleged herein, Defendant has advertised the Contaminated Baby Foods with

10 false or misleading claims, such that Defendant’s actions as alleged herein violate at least the

11 following laws:

12              •   The CLRA, California Business & Professions Code sections 1750, et seq.; and

13              •   The False Advertising Law, California Business & Professions Code sections

14 17500, et seq.

15 Unfair

16          125.    Defendant’s conduct with respect to the labeling, packaging, advertising,

17 marketing, and sale of the Contaminated Baby Foods is unfair because Defendant’s conduct was

18 immoral, unethical, unscrupulous, or substantially injurious to consumers and the utility of its

19 conduct, if any, does not outweigh the gravity of the harm to its victims.

20          126.    Defendant’s conduct with respect to the labeling, packaging, advertising,

21 marketing, and sale of the Contaminated Baby Foods is also unfair because it violates public policy

22 as declared by specific constitutional, statutory, or regulatory provisions, including, but not limited

23 to, the False Advertising Law and the CLRA.

24          127.    Defendant’s conduct with respect to the labeling, packaging, advertising,

25 marketing, and sale of the Contaminated Baby Foods is also unfair because the consumer injury is

26 substantial, not outweighed by benefits to consumers or competition, and not one consumers,

27 themselves, can reasonably avoid.

28                                             - 26 -
                                      CLASS ACTION COMPLAINT
     857146.1
      Case 4:21-cv-00913-YGR Document 1 Filed 02/05/21 Page 28 of 32




 1          128.     In accordance with California Business & Professions Code section 17203, Plaintiff

 2 seeks an order enjoining Defendant from continuing to conduct business through fraudulent or

 3 unlawful acts and practices and to commence a corrective advertising campaign. Defendant’s

 4 conduct is ongoing and continuing, such that prospective injunctive relief is necessary.

 5          129.     On behalf of herself and the Class, Plaintiff also seeks an order for the restitution

 6 of all monies from the sale the Contaminated Baby Foods, which were unjustly acquired through

 7 acts of fraudulent, unfair, or unlawful competition.

 8                                           COUNT V
                   (Breach of Express Warranty, California Commercial Code §2313,
 9                             Against Defendant on Behalf of the Class)
10          130.     Plaintiff incorporates by reference and realleges each and every allegation
11 contained above, as though fully set forth herein.

12          131.     As set forth herein, Defendant made express representations to Plaintiff and the
13 Class that the Contaminated Baby Foods were healthy, nutritious, made from the best ingredients,

14 and safe for consumption.

15          132.     These promises became part of the basis of the bargain between the parties and thus
16 constituted express warranties.

17          133.     There was a sale of goods from Defendant to Plaintiff and the Class members.
18          134.     On the basis of these express warranties, Defendant sold to Plaintiff and the Class
19 members the Contaminated Baby Foods.

20          135.     Defendant knowingly breached the express warranties by including Heavy Metals
21 in the Contaminated Baby Foods.

22          136.     Defendant was on notice of this breach as it was aware of the included Heavy
23 Metals in the Contaminated Baby Foods, and based on the public investigation by the nonprofit

24 organization, Healthy Babies Bright Futures, that showed its baby food products as containing

25 Heavy Metals.

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28                                             - 27 -
                                      CLASS ACTION COMPLAINT
     857146.1
      Case 4:21-cv-00913-YGR Document 1 Filed 02/05/21 Page 29 of 32




 1          137.   Privity exists because Defendant expressly warranted to Plaintiff and the Class that

 2 the Contaminated Baby Foods were healthy, nutritious, made from the best ingredients, and safe

 3 for consumption.

 4          138.   Plaintiff and the Class members reasonably relied on the express warranties by

 5 Defendant.

 6          139.   As a result of Defendant’s breaches of its express warranties, Plaintiff and the Class

 7 sustained damages as they paid money for the Contaminated Baby Foods that were not what

 8 Defendant represented.

 9          140.   Plaintiff, on behalf of herself and the Class, seek actual damages for Defendant’s

10 breach of warranty.

11                                          COUNT VI
                     (Breach of Implied Warranty, California Commercial Code
12                        §2314, Against Defendant on Behalf of the Class)
13          141.   Plaintiff incorporates by reference and realleges each and every allegation
14 contained above, as though fully set forth herein.

15          142.   Defendant is a merchant engaging in the sale of goods to Plaintiff and the Class
16 members.

17          143.   There was a sale of goods from Defendant to Plaintiff and the Class members.
18          144.   As set forth herein, Defendant marketed the Contaminated Baby Foods’ labels to
19 Plaintiff and the Class that the Contaminated Baby Foods were healthy, nutritious, made from the

20 best ingredients, and safe for consumption and did not contain Heavy Metals.

21          145.   The Contaminated Baby Foods did not conform to these affirmations and promises
22 as they contained Heavy Metals at undisclosed and alarming levels.

23          146.   These promises became part of the basis of the bargain between the parties and thus
24 constituted implied warranties.

25          147.   Defendant breached the implied warranties by selling the Contaminated Baby
26 Foods that failed to conform to the promises or affirmations of fact made on the container or label

27 as each product contained Heavy Metals.

28                                            - 28 -
                                     CLASS ACTION COMPLAINT
     857146.1
      Case 4:21-cv-00913-YGR Document 1 Filed 02/05/21 Page 30 of 32




 1          148.   Defendant was on notice of this breach as it was aware of the inclusion of Heavy

 2 Metals in the Contaminated Baby Foods, and based on the public investigation by the nonprofit

 3 organization, Healthy Babies Bright Futures, that showed its baby food products as containing

 4 Heavy Metals.

 5          149.   Privity exists because Defendant impliedly warranted to Plaintiff and the Class

 6 members through the warranting, packaging, advertising, marketing, and labeling that the

 7 Contaminated Baby Foods were healthy, nutritious, made from the best ingredients, and safe for

 8 consumption and by failing to make any mention of Heavy Metals.

 9          150.   As a result of Defendant’s breach of its implied warranties of merchantability,

10 Plaintiff and the Class sustained damages as they paid money for the Contaminated Baby Foods

11 that were not what Defendant represented.

12          151.   Plaintiff, on behalf of herself and the Class, seek actual damages for Defendant’s

13 breach of warranty.
                                           COUNT XII
14                   (Unjust Enrichment Against Defendant on Behalf of the Classes)
15          152.   Plaintiff incorporates by reference and reallege each and every allegation contained
16   above, as though fully set forth herein.
17          153.   Substantial benefits have been conferred on Defendant by Plaintiff and the Classes
18   through the purchase of the Contaminated Baby Foods. Defendant knowingly and willingly
19   accepted and enjoyed these benefits.
20          154.   Defendant either knew or should have known that the payments rendered by
21   Plaintiff were given and received with the expectation that the Contaminated Baby Foods would
22   have the qualities, characteristics, ingredients, and suitability for consumption represented and
23   warranted by Defendant. As such, it would be inequitable for Defendant to retain the benefit of
24   the payments under these circumstances.
25          155.   Defendant’s acceptance and retention of these benefits under the circumstances
26   alleged herein make it inequitable for Defendant to retain the benefits without payment of the
27   value to Plaintiff and the Classes.
28                                            - 29 -
                                     CLASS ACTION COMPLAINT
     857146.1
      Case 4:21-cv-00913-YGR Document 1 Filed 02/05/21 Page 31 of 32




 1          156.    Plaintiff and the Classes are entitled to recover from Defendant all amounts

 2   wrongfully collected and improperly retained by Defendant, plus interest thereon.

 3          157.    Plaintiff and the Classes seek actual damages, injunctive and declaratory relief,

 4 attorneys’ fees, costs, and any other just and proper relief available under the laws.

 5                                       PRAYER FOR RELIEF

 6          WHEREFORE, Plaintiff, individually and on behalf of all others similarly situated, pray

 7 for judgment against the Defendant as to each and every count, including:

 8          A.      An order declaring this action to be a proper class action, appointing Plaintiff and

 9 her counsel to represent the Class, and requiring Defendant to bear the costs of class notice;

10          B.      An order enjoining Defendant from selling the Contaminated Baby Foods until the

11 higher and/or unsafe levels of Heavy Metals are removed;

12          C.      An order enjoining Defendant from selling the Contaminated Baby Foods in any

13 manner suggesting or implying that they are healthy, nutritious, and safe for consumption;

14          D.      An order requiring Defendant to engage in a corrective advertising campaign and

15 engage in any further necessary affirmative injunctive relief, such as recalling existing products;

16          E.      An order awarding declaratory relief, and any further retrospective or prospective

17 injunctive relief permitted by law or equity, including enjoining Defendant from continuing the

18 unlawful practices alleged herein, and injunctive relief to remedy Defendant’s past conduct;

19          F.      An order requiring Defendant to pay restitution to restore all funds acquired by

20 means of any act or practice declared by this Court to be an unlawful, unfair, or fraudulent business

21 act or practice, untrue or misleading advertising, or a violation of the Unfair Competition Law,

22 False Advertising Law, or CLRA, plus pre- and post-judgment interest thereon;

23          G.      An order requiring Defendant to disgorge or return all monies, revenues, and profits

24 obtained by means of any wrongful or unlawful act or practice;

25          H.      An order requiring Defendant to pay all actual and statutory damages permitted

26 under the counts alleged herein;

27          I.      An order requiring Defendant to pay punitive damages on any count so allowable;

28                                             - 30 -
                                      CLASS ACTION COMPLAINT
     857146.1
      Case 4:21-cv-00913-YGR Document 1 Filed 02/05/21 Page 32 of 32




 1          J.     An order awarding attorneys’ fees and costs to Plaintiff, the Class; and

 2          K.     An order providing for all other such equitable relief as may be just and proper.

 3                                           JURY DEMAND

 4          Plaintiff hereby demands a trial by jury on all issues so triable.

 5 Dated: February 5, 2021                        LOCKRIDGE GRINDAL NAUEN P.L.L.P.
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28                                             - 31 -
                                      CLASS ACTION COMPLAINT
     857146.1
